Case 5:20-cv-00102-JPB Document 256 Filed 01/08/21 Page 1 of 2 PageID #: 2047




                         UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                              WHEELING DIVISION


  WEIRTON AREA WATER BOARD, et al.,
                                                      Civil Action No. 5:20-cv-00102-JPB
                 Plaintiffs,

  v.                                                    CERTIFICATE OF SERVICE

  3M COMPANY, et al.,

                 Defendants.



        I hereby certify that on January 8, 2021, I caused a true and correct copy of Deepwater
Chemicals, Inc.’s Objections and Responses to Plaintiffs’ First Set of Interrogatories and
Document Requests Pertaining to Jurisdiction to be served via e-mail on all counsel of record, as
well as by mail on the following counsel for Plaintiffs:



 Mark A. Colantonio, Esq.                        Lilia Factor, Esq.
 Clayton Fitzsimmons, Esq.                       Paul Napoli, Esq.
 Fitzsimmons Law Firm PLLC                       Andrew Croner, Esq.
 1609 Warwood Ave.                               Napoli Shkonik, PLLC
 Wheeling, WV 26003                              360 Lexington Ave., 11th Floor
 T: (304) 277-1705                               New York, NY 10017
 clayton@fitzsimmonsfirm.com                     pnapoli@nsprlaw.com
 mark@fitzsimmonsfirm.com                        lfactor@napolilaw.com
                                                 acroner@napolilaw.com
Case 5:20-cv-00102-JPB Document 256 Filed 01/08/21 Page 2 of 2 PageID #: 2048




                                   WOMBLE BOND DICKINSON (US) LLP



                                    /s/ Kurt D. Weaver
                                   Kurt D. Weaver (WV Bar No. 11203)
                                   555 Fayetteville Street, Suite 1100
                                   Raleigh, NC 27601
                                   Telephone: (919) 755-8163
                                   Facsimile: (919) 755-6770
                                   Email: Kurt.Weaver@wbd-us.com


                                   Edward M. (Ned) George, III, Esq.
                                   PHILLIPS, GARDILL, KAISER & ALTMEYER, PLLC
                                   61 Fourteenth Street
                                   Wheeling, WV 26003
                                   Office: 304-232-6810
                                   Direct Dial: 304-231-1605
                                   Email: NedGeorge@pgka.com

                                   Attorneys for Deepwater Chemicals, Inc.




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WBD (US) 50837147v1
